Case 1:04-cv-01192-.]DT-STA Document 20 Filed 04/18/05 Page 1 of 2 Pag_e_|D 20

!~j/Lg
IN THE UNITED STATES DISTRICT COURT DSY"~FL DC_
FoR THE WESTERN DISTR_ICT oF TENNESSEE BSAP;; ,8 ph

 

EASTERN DIVISION RGBW q ' 26
%Q’Hr§"§§?i§
JAMES DYER and WILDA DYER, ) "~ ~LMCKSON '
Plaintiffs, §
VS. § No. 04-1192-T/An
S.c. JoHNsoN & SoN, INC. and §
WAL-MART SToR_ES, INC., )
Defendants. §
oRDER oF REFERENCE

 

On April 4, 2005, the parties filed a joint motion to amend the scheduling order,
combined With a motion for a new trial date. The motion to continue is hereby REFERRED
to U.S. Magistrate S. Thornas Anderson for disposition at the same time as the motion to
amend the scheduling order.

IT IS SO ORDERED.

@zwz>-W

JAM D. TODD
UNI ED STATES DISTRICT JUDGE

/,</ Mw Mf
D§T`E ’

This document entered on the dock

' 916 et
W'th Ru[e 58 and/m 79 fa) FHCP on M,-Bn§ule

 

r`) SATES DISTRICT OURT - WESTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:04-CV-01192 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

DeWitt M. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Geoffrey A. Lindley

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jacl<son7 TN 38302--1 14

Honorable .l ames Todd
US DISTRICT COURT

